IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
Civil Action No. 1:19 ev-358

MAJOR BOYD WHITLEY,
Plaintiff, MOTION FOR
EXTENSION OF TIME TO
VS. ANSWER OR OTHER WISE
RESPOND

SHERIFF VAN SHAW, et al.,

Defendants.

 

MOTION FOR EXTENSION OF TIME TO
ANSWER OR OTHERWISE RESPOND

The defendants Sheriff Van Shaw, Captain M. Nesbitt and Lieutenant W. Wallace, through
undersigned counsel, move the Court to extend the time by thirty (30) days in which to file an answer or
otherwise respond to plaintiff's complaint, pursuant to Rule 6(b)(1 (A) of the Federal Rules of Civil
Procedure and Local Civil Rules 6.1(a) and 7.3). In support of this motion, counsel shows the Court
that the plaintiff filed this complaint in the United States District Court for the Middle District of North
Carolina on April 1, 2019, the summons were issued on June 20, 2019 and these three defendants were
not served before July 2, 2019.

Counsel for these defendants needs additional time to review the facts of and applicabie law
relating to this alleged situation and to prepare a response to the summons and complaint. The time to
respond to the complaint is no earlier than July 23, 2019, Plaintiff is not represented by counsel.

WHEREFORE, Counsel respectfully prays the Court to enter an order extending the time for
defendants Sheriff Van Shaw, Captain M. Nesbitt and Lieutenant W. Wallace to file an answer or
otherwise respond to plaintiff's complaint for an additional thirty (30) days, up to and including August

22, 2019.

Respectfully submitted this the day of July, 2019.

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/s/ Richard M. Koch
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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
Civil Action No. 1:19-cv-358

 

MAJOR BOYD WHITLEY, oy )
Plaintiff ) gh
) CERTIFICATE OF SERVICE
VS. }
)
SHERIFF VAN SHAW, et al., )
)
Defendants. )
\
Thereby certify that on July , 2019 pursuant to Fed. R.Civ. P. 5(b) and LCvR 5.3, I

electronically filed the foregoing MOTION FOR EXTENSION OF TIME TO ANSWER and
ATTACHED PROPOSED ORDER with the Clerk of Court utilizing the CM/ECF system of the United
States District Court for the Middle District of North Carolina that will send electronic notification of
such filing to all registered users. J also certify that a paper copy has been mailed to the plaintiff on this
date at the following address: ,

Major Boyd Whitiey
#25499
Cabarrus County Detention Center
P.O. Box 790
Concord, NC 28026

fo
This the ae day of July, 2019.

/s/ Richard M. Koch
RICHARD M. KOCH
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